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                                                                                                    FILED
                                   UNirED STATES DISnaCT COURT
                                   EASTERN DISTRICT OF VIRGINIA
                                                  ALEXANDRIA
IN RE:                                                               .                     2CI? 1;AY 15 P                S'
Janice Wolk Grenadier                                 CASE NOVj^ix-OJ"^ IL—                           "'"T.'CT COURT
                                COUNTERCLAIM/CROSSCOMPLAINT                                                   VIRGINIA
                                                CIVIL COMHAINT
 The Cuhure of tbe FBI,DOJy Governnieiit& Elected Officials is to COVER UP For EACH OTHER
            The DOJ and FBIare so afraid of bdi^ OOTED Biat                        cannot be TRUSTED
                                      DEMAND FOR A JURY TRIAL
JANICE WOLK GRENADIER
15 W.Spiing Street
Alexandria, VA 22301                                    Viigjoiia and the United States Constitutional Rights
             Plaintiff                                                 Fedraal Constitutional rights under
Vs.                                                                   Tide 42 U.S Code §1981 & 1983,
                                                               Title 18 U.S.Code § 241 § 242,
JUDGE HENRY E.HUDSON                                                Rico and Racketeer Influenced and
US District Couit Eastern Distria of Viiginia(Richmond) Comqyt Organization Act 18 U.S.C § 1961-1968
701 East Broad Street                                   Bill of Rights die4 Fteedoms:speeds,
Richmond,VA 23219                                       worship, want,freedom of fear Freedom of Speech
             Defendant                                  Obstruction of Jusdce by DOJ,FBI& many Judges
PRESIDENT DONALD J.TRUMP CTRUMP)
1600Penn^vania Ave N.W.
Washington DC 20500
            Defendant

DEPARTMENT of JUSTICE aka
ATTORNEY GENERAL JEFF SESSIONS(DOJ)Re^ionsible for the Criminal Activity ofc Sarah Isgur
Flores,Donald Kempf,Andrew Finch,Joseph Guzinski,Iriistee THOMAS P.GORMAN,Chid Judge
Honorable Rebecca Beach Smith USDC of Eastern Division of Viigioia Jt^aeLeomeM.BrbikenuL Jiaftie
f^pgfafBruce Lee.JudbeLkon O'Graifrv JudbeAiiihofty X      SadiH'Jud^ JamesC Cacheris,Senior Jmfoe
                                V0          WWW                m.   -W.   mis                 ^



              w                             #     V      —'—        eweweeewe *V        iriiaygwWIT? irMMjei Ta JtfllV/fiS
Jojie^Jr.     USDC oftiteEastemlKvision of Viigima(Alexandria) Jud^RogerL,Gn^ny,Jt^J*
HmvieWWdnsonm, JuigePmdV.Niem^,Jud^mata&BOHmMats,Jt^WimanB.TItBda',Jr.Judge
SdbeHB,I3t^Jt^Bands W.Shedd, Ju^Al^onK.Duncan, Ju^G.Steven Agee,Judge BtatmilMlano
Keaua^ Jtt^e Jamesjy Mynih Js. Judg^ABtettlWas, Ju^eHemyP.PU^^ Ju^^Seei^uadeD,Thacker,
Ju^Pamda A.Harris, Sei^Judge €^ydeB.HatiMtan^ SeidorJud^An^M.Dads                                   Fourdi Ciicutt Court
of Appeals CJdtfJud^BeiylA.Hawdl,DbtrktJudge EmmetG.SuUhmn,IHsiHctJu^JamesE.Baadteig,
^l>istrlct Ju^J^BemumJachsoUfDistrktJudge RudolpbComrenB,SadarJtageSayceC.Lambeidi, Seniar
^eEttm^Hwfk,Seidar Judge ReggieB. Wdlim,Sa^Jt^RickardJ.Letm,SeidarJu^ Rosemary M.
iMfyer USDC of the District of Colimdiia OdefJudga MERRICKB,GARLAND United States Court of
^peals District of Columbia Circuit JmfaeBrkm Kamsv,JuAf^ jeiippfc^ us Bankniptcy Court forthe
Eastern District of Virginia (Alexandria)
950 Penn^vania Ave N.W.
Washington DC 20004
            Defendant

Federal Bureau ofInvestigatimi afca
^^^'STOFHER WRAY(FBI)Reqionsible for die Criminal ActiviQrofr Marcus Wilson
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